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 7                        UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11         Plaintiff,                          Case No. 2:04-cr-00038-LDG (GWF)

12   v.                                        ORDER

13   GREG CARTER,

14         Defendant.

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16         For good cause shown,

17         THE COURT ORDERS that Defendant Greg Carter’s Motion to Stay Supervised

18   Release Payment of Restitution Condition Pending Decision on Appeal (#327) is DENIED.

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20   DATED this ______ day of July, 2013.
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22                                                         Lloyd D. George
                                                           United States District Judge
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